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                        UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
 ______________________________
                                  :
 CHANNEL METHODS                  :
 PARTNERS, LLC,                   :
                                  :
                   Plaintiff,     :    Civil Action No. 14-05358 (FLW)(LHG)
                                  :
       v.                         :             ORDER
                                  :
 PHARMATECH, INC.                 :
                                  :
                   Defendant.     :
                                  :


        THIS MATTER having been opened to the Court on September 2, 2014, by

 Pharmatech, Inc. (“Defendant”), through its counsel Maritza Braswell, Esq., on a Motion to

 Dismiss, or, in the Alternative, for a More Definite Statement and to Transfer Venue to the

 District of Colorado; it appearing on September 26, 2014, that Channel Methods Partners

 (“Plaintiff”), through its counsel Sean Deverin, Esq., filed a Notice of Voluntary Dismissal

 Without Prejudice pursuant to Fed. R. Civ. P. 41(a); it appearing that Defendant objected to the

 Voluntary Dismissal without a Court Order; it appearing that Plaintiff intended to refile in a

 Colorado court; following a conference call with counsel for both parties, with the consent of

 both parties, and for good cause shown,

        IT IS on this 16th day of October, 2014,

        ORDERED that this case is TRANSFERRED to the United States District Court for the

 District of Colorado.



                                                      /s/ Freda L. Wolfson
                                                      Hon. Freda L. Wolfson, U.S.D.J.
